     Case: 6:18-cv-00145-GFVT Doc #: 56 Filed: 03/13/19 Page: 1 of 1 - Page ID#: 327



                                                                                                                      NTP
                                                                                              Transmittal Number: 19444813




                                                                                                    Eastern:rnstriot of Kent119icy
Rejection of Service of Process                                                                            FI LED
Return to Sender Information:                                                                             MAR i 3 2019
U.S. District Court Clerk null
Eastern District of Kentucky                                                                                 Al LONDON
310 S. Main Street                                                                                         ROBERT R. CARR
London, KY 40741                                                                                      CLERK U.S. DISTI\ICT COURT


Date:                                     03/04/2019

Party Served: - ...                       Asset Acceptance, LLC
Title of Action:                          United States of America vs. Unknown heirs of the Estate of Kattie Creech aka
                                          Katie Creech, and unknown Executor/Administrator of the Estate of Kattie
                                          Creech aka Katie Creech
Court/Agency:                             U.S. District Court, Eastern District, KY
Case/Reference No:                        6:18-CV-00145-GFVT


The service of process received for the party served, as listed above, cannot be forwarded to the intended party for the
reason listed below:

According to our records and the records at the Secretary of State, or other appropriate state agency, we are not the
registered agent for the company you are trying to serve. It is your responsibility to verify this information with the
Secretary of State or other appropriate state agency.

Our customer records are confidential. We do not release any information related to our customers, agent representation
or service of process received. Please contact the Secretary of State or other appropriate agency for more information.

For an electronic copy of the identified service, send your request by e-mail to sop@cscglobal.com. Please include the
transmittal number located in the upper right-hand corner of this letter.



                                    251 Little Falls Drive, Wilmington, Delaware 19808-1674
                                             (888}690-2882 I sop@cscglobal.com
